         Case 1:15-cv-08307-PAE Document 229 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




                                                                   13-md-2481 (PAE)
                                                                   14 Civ. 211 (PAE)
 IN RE ALUMINUM WAREHOUSING                                        14 Civ. 217 (PAE)
 ANTITRUST LITIGATION                                              14 Civ. 3116 (PAE)
                                                                   14 Civ. 6849 (PAE)
                                                                   15 Civ. 8307 (PAE)

                                                                        ORDER



PAUL A. ENGELMAYER, District Judge:

        The Court has received plaintiffs’ letter motion to file under seal their memorandum of

law in opposition to defendants’ motion for summary judgment, their response to defendants’

statement of undisputed material facts, and certain exhibits cited therein in each of the above-

captioned cases. Having reviewed the proposed redactions and documents to be filed under seal,

the Court grants plaintiffs’ request.

       The Clerk of Court is respectfully directed to close the motions pending at docket 1293 in

13-md-2481, docket 231 in 14 Civ. 211, docket 256 in 14 Civ. 217, docket 447 in 14 Civ. 3116,

docket 166 in 14 Civ. 6849, and docket 220 in 15 Civ. 8307.

       SO ORDERED.

                                                             PaJA.�
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                                                             Paul A. Engelmayer
                                                             United States District Judge


Dated: October 21, 2020
       New York, New York
